                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                               )
                                                     )   Chapter 11
                                                     )
PROMISE HEALTHCARE GROUP, LLC et al.,                )   Case No. 18-12491 (CGT)
                                                     )
                           Debtors.                  )
                                                     )
                                                     )
SUCCESS HEALTHCARE 1, LLC and                        )
PROMISE HEALTHCARE, INC.,                            )   Adv. No. 20-50769 (CGT)
                                                     )
                           Plaintiffs,               )
                                                     )
         v.                                          )
                                                     )
SURGICAL PROGRAM DEVELOPMENT, LLC                    )
and BRENDAN BAKIR, individually,                     )
                                                     )
                           Defendants.               )
                                                     )

                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                    ZOOM HEARING ON MAY 18, 2022 AT 10:00 A.M. (ET)

                        THIS HEARING HAS BEEN CANCELLED
                        WITH THE PERMISSION OF THE COURT.

STATUS CONFERENCE:

1.       Success Healthcare 1, LLC and Promise Healthcare, Inc. vs. Surgical Program
         Development, LLC and Brendan Bakir, individually [Adversary Proceeding No. 20-50769
         (CGT)]

         Response Deadline: N/A

         Related Documents:

         A.    Plaintiffs' Complaint and Incorporated Objection to Proof of Claim Filed by
               Surgical Program Development, LLC Relations [D.I. 1; Filed 7/27/20].

         B.    Motion to Dismiss Count 1 and 2 and for Permissive Abstention [D.I. 8; Filed
               11/9/20].




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       C.      Opening Brief in Support of Motion to Dismiss and for Permissive Abstention [D.I.
               9; Filed 11/9/20].

       D.      Plaintiffs' Brief in Opposition to Defendants' Motion to Dismiss Counts 1 and 2 of
               Complaint and for Permissive Abstention [D.I. 11; Filed 11/30/20].

       E.      Reply Brief in Support of Motion to Dismiss and for Permissive Abstention [D.I.
               13; Filed 12/7/20].

       F.      Order Denying Motion to Dismiss Count 1 and 2 and for Permissive Abstention
               [D.I. 17; Filed 3/23/21].

       G.      Answer to Complaint [D.I. 18; Filed 4/9/21].

       H.      Parties’ Joint Report Regarding Rule 26(f) Conference [D.I. 20; Filed 6/18/21].

       I.      Notice of Status Conference [D.I. 21; Filed 6/22/21].

       J.      Scheduling Order [D.I. 26; Filed 6/29/21].

       K.      Order Assigning Adversary Proceeding to Mediation, Appointing Mediator, and
               Setting Mediation Deadlines and Trial Date [D.I. 30; Filed 8/17/21].

       L.      Plaintiffs' Rule 26 Expert Designation [D.I. 37; Filed 12/10/21].

       M.      Mediation Status Report [D.I. 40; Filed 12/29/21].

       Responses Received: N/A

       Status: The parties have agreed to adjourn the hearing on this matter while they discuss a
       new briefing/discovery schedule.

Dated: May 16, 2022                          DLA PIPER LLP (US)
       Wilmington, Delaware
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